Ca_Se 6:17-mL-00670-.]WF Document 1 Filed 11/29/17 Page 1 of 32
AO 106 (Rev. 01109) App|lcatlon for a Searc Warrant

Uniteril States District Conrt

   
 

    

for the
Western District of New Yorl< NQ V 2
In the Matter ofthe Search of mg l § m g `-;_,,
newly drama theyng m be mahar or ramp ramon by name and 11de @@SFWR
rNFoRMAHoN AssoClATED WITH APPLE to F‘EQN DZSTR%GT O?
ncawilbem@gmajl.com THAT IS STORED AT
PREMISES CONTROLLED BY APPLE, INC. Case No_ 17_MJ_M

APPLICA'I`ION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the governrnent, request a search Warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (z'denrgj» rhepman or wmata
properly to beseafched andg:`ve its location)l INFORMATION ASSOCIATED WITI'I APPLE ]D dchwi[befn@gmajl.€cm THAT IS STORED AT
P-REl\/[ISES CONTRO]'_,LEI) BY APPLE, INC. , as more particularly described in Attacbment A,

located in the Western District of New York, there is now concealed away chapman yamaha tamm w meant

See Attachment B for the Items to be Seized, all of Which are fruits, evidence and instrumentalities of violations
of Title 18, United States Code, Sections 2113(a), 2113(€), Z, 924(c)(1)(A)(iii) and (j)(l), and 922(g), all of which
are more fully described in the application and affidavit filed in support of this warrant, the allegations of which
are adopted and incorporated by reference as if fully set forth herein.

The basis for Search under Fed. R. Crirn. P. 41(€) is (check one or more):

evidence of a crime;

contraband, fruits of crirne, or other items illegally possessed;

property designed for use, intended for use, or used in committing a crirne;
a person to be arrested or a person Who is unlawfully restrained

|:lH|Z|ZE

The search is related to a violation of Title 18, United States Code, Sections 21 13(a), 2113(e), 2, 924(c)(1)(A)(iii) and
(i)(l), and 922(g).

The application is based on these facts¢
131 continued on the attached sheet
El Delayed notice of__ days (give exact ending date if more than 30 days: ) is
requested under 18 U.S.C. § 3103a, the basis of Which is set forth on the attached sheet.

 

vaorn to before me and signed in rny presence
Date: November 2017

 

Judge’.s szgnarnre

 

j NORABLE JONATHAN W. FELDMAN
City and state: Rochester New Yorl< z ITED STATES MAGISTRATE JUDGE

Pfinred' name and Title

 

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

1N THE MATTER or THE sEARCH oF;

17-
INFORMATION AssocnrrED wITH APPLE ID 7
richwnbem@gmail.com TH'AT is sToRED Ar
PREMISES coNTRoLLED BY APPLE, iNc.

 

AFFIDAVI'I` IN SUPPORT OF SEARCI-I WARRANT
STATE OF NEW YORK )
COUNTY OF MONROE ) SS:
CITY OF ROCHESTER )

I, Andrew Jasie, a Task Force Officer with the Federal Bu.reau of Investigation, United

States Departrnent of Justice, having been first duly sworn, deposes and says:

l. l am a Task Force Officer with the Federal Bureau of Investigation (FBI). As
such, I am an “investigative or law enforcement officer of the United States” within the
meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United
States empowered by law to conduct investigations of and to make arrests for offenses

enumerated in Title 18, United States Code, Section 2516.

2. Prior to becoming a Task Force Officer with the FBI, I have been employed by
the New York State Police for 17 years. I have been an investigator with the New York State
Police for the last 12 years. During that time, I have participated in investigations involving
hornicide, bank robbery, drug trafficking fugitives, and Hobbs Act robbery. ln addition, I

have had the opportunity to work with other FBI agents and other law enforcement agents

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and officers of varying experience levels, who have also investigated homicides, drug
trafficking networks, fugitives, and robbery Cases. My investigative experience detailed
herein, and the experience of other law enforcement agents who are participating in this

investigation serve as the basis for the opinions and conclusions set forth herein_
SUBJEC'I` VIOLA'I`IONS

3. B'ased on the facts set forth in this affidavit, there is probable cause to believe
that on or about August 12, 2003, in the Town of Webster, Western District of New York,
the defendant, RICHARD LEOI;T W]lBERN, by force, violence and intimidation, did take
from the person and presence of another, money, namely, in excess of $10,000 in United
States currency, belonging to and in the care, custody, control, management and possession
of the Xerox Federal Credit Union, a federal credit union whose deposits were then insured
by the National Credit Union Administration Board, and in committing the offense, or in
avoiding or attempting to avoid apprehension, the defendant did kill another person, to wit,
Rayrnond Batzel, all in violation of Title 18, United States Code, Sections 2113(a), 2113(€);
and, that on or about August 12, 2003, in the Town of Webster, Western District of New
York, the defendant, RlCI-IARD LEON WILBERN, during and in relation to a crime of
violence for which he may be prosecuted in a court of the United States, that is, a violation of
Title 18, United States Code, Sections 2113(a) and (e), as set forth in above, the allegations of
which are incorporated herein by reference, did knowingly use, carry and discharge, and in

furtherance of such crirne, did knowingly and unlawfully possess and discharge, a firearm,

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and in the course of a violation of this section, caused the death of a person, to wit, Rayrnond
Batzel, through the use of that firearm, all in violation of Title lS, United States Code,

Sections 924(c)(l)(A)(iii) and (j)(l) (collectively, the “Subject Violations”).

4. I further submit there is probable cause to believe that on or about September
27, 2016, at 23 Tubman Way, Rochester, New York, Richard Wilbern, a previously convicted
felon, was in possession of four firearms in violation of Title 18, United States Code, Section

szz(g).

5. Because this affidavit is being submitted for the limited purpose of establishing
probable cause to secure a search warrant, l have not included each and every fact known to

me through my participation in this investigation

PURPOSE OF AFFIDAVIT

6- I make this affidavit in support of an application for a search warrant under 18
U.S.C. §§ 2703(a), 27 03(b)(l)(A) and 2703(c)(l)(A) to require Apple lnc. (hereafter “Apple”)
to disclose to the government records and other information, including the contents of
communications, associated with Apple ]D “richwilbem@gmail.com”, that is stored at
premises owned, maintained, controlled, or operated by Apple, a company headquartered at

l lnfinite Loop, Cupertino, CA. The information to be disclosed by Apple and searched by

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the government is described in the following paragraphs and more particularly in Attachments

A and B.

7. Based on the facts as set forth in this affrdavit, there is probable cause to believe
that the property described in Attachment A contains records, fruits, instrumentalities, and
evidence of a crime, to wit, violations of Title 18, United States Code, Sections 2113(a),
2113(e) and 2 (credit union robbery, resulting in death), and that he committed a violation of
Title 18, United States Code, Sections 924(c)(l)(A)(iii) and (j)(l) (possession and discharge of
a firearm in furtherance of a crime of violence, resulting in death), as well as a violation of in
violation of Title 18, United States Code, Section 922(g), as more particularly described in

Attachment B.

FAC'I`UAL BACKGROUND

8. The Federal Bureau of Investigation, the Webster Police Depa;rtment, the
Monroe County Sheriff’s Office, the New York State Police, the Rochester Police Departrnent
and the United States Marshals Service have been engaged in an ongoing investigation into
the armed credit union robbery/ homicide that occurred on August 12, 2003 at the Xerox
Federal Credit Union (XFCU), located in Building 304 on the Xerox Corporation campus at
800 Phi]lips Road, Webster, Western District of New York_ ln August 2003, the Xerox
Federal Credit Union was a federal credit union whose deposits were then insured by the

National Credit Union Adrninistration Board.

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9. On that date, at approximately 9:45 a.m., a black male (hereinafter referred to
as the “Subject”) entered the Xerox Federal Credit Union. Witnesses described the Subject
as wearing a dark blue nylon jacket with the letters “FBI” written in yellow on the sleeve and
back of the jacket He wore gloves, sunglasses and a poorly fitting wig. The Subject was also
carrying a large, rectangular briefcase and a green and gray-colored umbrella The Subject
also had what appeared to be a United States Marshals badge hanging on a chain around his
neck. The Subject proceeded into the interior of the credit union and entered a cubicle

occupied by a female XFCU employee

10. Once inside the cubicle, the Subject sat in a chair across the desk from the
employee He placed the umbrella he was carrying upon the female employee’s desk. The
Subject maintained the large briefcase near his feet. The Subject then explained to the
employee, in sum and substance, that he was present to conduct a security assessment and to
“stage” a robbery. After additional conversation with the employee, the Subject then
removed two firearms from the briefcase One firearm was described as a handgun and the
other as a sawed-off shotgun or sawed-off rifle. The Subject also removed a bag and instructed
the employee to fill a bag with money from behind the teller counter`. The employee complied
with the demands and proceeded to the counter to get the money. As the employee walked

to the counter, the Subject stood in the doorway of the female employee’s cubicle.

ll. Shortly thereafter, the Subject began to lay employees and customers down on
the floor. While doing so, the Subject confronted Raymond Batzel, a customer of the credit

union. According to bank records and surveillance video, Batzel had just concluded a
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banking transaction with the teller at 9:45 a.m. After a very brief verbal altercation with
Batzel, the Subject raised a firearm and shot Batzel in the neck, resulting in his death. As the
Subject shot Batzel, a second customer had entered the credit union and upon witnessing the
shooting of Batzel, attempted to turn and run back outside. The Subject shot the customer in
the back as he fled. The Customer managed to flee the credit union and was later treated for

his injuries

12. After shooting both customers, the Subject quickly returned to the teller counter
area and, while holding the firearm in the air, told credit union employees to fill the bag with
cash. The Subject then took the money and the briefcase and quickly fled the credit union.
However, the Subject failed to retrieve the umbrella that he initially brought into the credit
union. The umbrella was located by law enforcement still lying on the employee’s desk. lt

was thereafter secured and placed into evidence.

2016 FBI PRESS CONFER_ENCE

13. On March 21, 2016, law enforcement held a press conference at the FBI offices
located in Rochester in an effort to elicit additional leads in this investigation lnformation
was released related to the crime details, as well as enhanced photographs of the Subject who

had committed the robbery. Anyone with information was asked to call a dedicated hotline.

14_ Shortly thereafter, a concerned citizen (hereinafter referred to as “Citizen”)
contacted the Federal Bureau of Investigation with material and relevant informationl Upon

personally interviewing the Citizen, the Citizen stated, among other items of information, and
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in sum and substance, that the perpetrator of the crime was likely a former Xerox employee
named Richard Wilbern. The Citizen indicated that Wilbern worked for Xerox prior to the
robbery but had been fired by the company. The Citizen stated that he/ she recognized
Wilbern’s face from the photos. The Citizen stated that he/ she worked at Xerox at a time
when Wilbern was also employed there and had significant interaction with him. The Citizen
recalled that while Wilbern worked at Xerox, Wilbern filed a federal lawsuit against the
company because Wilbern felt that he was treated unfairly and discriminated against based
upon his race. Wilbern made comments to the Citizen during the pendency of the lawsuit
that he was “ going to get his money." The Citizen further reported he/ she believed that

Wilbern’s son attended Fairport High School.

P()ST-LEAD INVESTIGA'I`ION

15. After receiving the information, law enforcement began to corroborate the lead.
Law enforcement was able to confirm through Xerox Corporation that both the Citizen and
Richard L. Wilbern were in fact employed by the Xerox Corporation at the same time_
Wilbem was a full-time employee at Xerox with a hire date of August 11, 1997, although he
began working there in September 1996 as a temporary hire. Wilbern’s position was that of
a copier/disassembler/cleaner/repairer/ sander, sometimes referred to as a “scuffer.”
Wilbern worked in Building 200, just north of the XFCU location Wilbern was terminated
by Xerox on February 23, 2001 for repeated employment-related infractions Xerox
employment records from 2001 listed a home address of 120 West Avenue, Apt. 2, Fairport,

New York.

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l6. Law enforcement was also able to confirm that on or about August 30, 2000,
Wilbern did in fact bring a lawsuit against Xerox pursuant to Title Vll of the Civil Rights Act
alleging that Xerox unlawfully discriminated against him with respect to the terms and
conditions of his employment, subjected him to a hostile work environment, failed to hire
him for a position for which he applied because of his race, and retaliated against him for
complaining about Xerox’s discriminatory treatment An amended complaint was filed on
April 24, 2001, adding a retaliatory discharge claim. On or about December 12, 2002,
pursuant to a motion for summary judgment filed by the Xerox Corporation, the Hon.

Michael A. Telesca dismissed Wilbern’s claims in their entirety. (00~CV-6431T).

17. Law enforcement was also able to determine that Richard Wilbern maintained
checking and savings accounts at the Xerox Federal Credit Un'ion. The defendant’s
paychecks were direct deposited into XFCU Account #XXXXXXX. Wilbern’s 2001-2003
credit union statements list a home address of 120 West Avenue, Apt 2, Fairport, NY 14450.
The accounts remained active and open as of August 12, 2003, the date of the robbery of the

XFCU.

18. According to records obtained from Fairport High School, Wilbern’s son,
Rayard Akbar Wilbern, dob XX/XX/ 1986, was enrolled at Fairport High School during the
2000-2001, 2001~2002 and the 2002~2003 school year. Their records also indicate a reported

address of 120 West Avenue, Apartment #2, Fair'port, NY 14450.

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PRIOR FELONY CONVICTIONS - PROI'[I]?»ITED STA'I`US

19. Your affiant has conducted a criminal background check on Richard Wilbern.
A review of Wilbern’s criminal history showed that Wilbern was previously convicted for
bank robbery- Specifically, Wilbern was arrested on September 3, 1980 in hondequoit, New
York and charged with Robbery lSt (armed with a deadly weapon) and Grand Larceny 2““.
The police report indicates that on September 3, 1980, Richard Wilbern entered the First
National Bank of Rochester located at 1000 East Ridge Road, Irondequoit, New York armed
with a handgun. Upon entering the bank, Wilbern pulled a stocking mask over his face and
approached the manager. Wilbern handed the manager a bag and demanded it be filled
After obtaining United States Currency, Wilbern fled the bank and entered a waiting getaway
vehicle being driven by a co-defendant. Shortly thereafter, the vehicle was pulled over and
both Wilbern and his driver were arrested Wilbern pled guilty to the felony of Attempted

Robbery 2“‘1 and served one year in jail.

20. Wilbern was also arrested on March 14, 1986, and charged with Possession of
a Sawed~off Shot Gun and Carrying a Concealed Weapon in Richmond, Virginia. Further
investigation determined that on May 20, 1989, Wilbern pled guilty to the felony level
violations of Possession of a Sawed-off Shotgun and Possession of a Concealed Weapon.

Wilbern was sentenced to 2 years and 30 days.

21. On January 7, 2004, just five months after the Xerox robbery/homicide,
Wilbern was arrested in St. Clairsville, Ohio and charged with Receiving Stolen Property and

Fictitious Vehicle Registration (stolen plates). A review of the incident report shows that a
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replica toy gun was located in the vehicle operated by Wilbern. The defendant ultimately
pled guilty to the original charge of Fictitious Vehicle Registration. The arrest booking photo
shows Wilbern’s height at 72”, or 6’ tall. (2004 photo attached hereto and made a part of this
complaint as Exhibit A). Wilbern’s height (6’0”) matches the height analysis conducted by
the Federal Bureau of lnvestigation Forensic Audio Video lmage Analysis Unit. This is the

also the same height listed on Wilbern’s New York State driver’s license

DNA TESTING ON UMBRELLA

22. ln the aftermath of the robbery/ homicide at the Xerox Federal Credit Union,
the Monroe County Public Safety laboratory was called upon to obtain DNA samples from
the green and gray umbrella Which was left behind by the Subject. Two sets of swabs were
taken from various locations on the umbre]la, including the “eXternal Wrap around Closure
and button”, the “lower latch mechanism”, the “metal shaft and upper latch mechanism” and
an “internal strap.” One set of swabs was tested for the presence of DNA while the second
set was allowed to dry, packaged and appropriately stored at the lab for future testing. Based
upon the technology available at the time, while human DNA samples were located on the
first set of swabs, there were insufficient amounts of DNA located in order to develop DNA

proliles. Accordingly, at that time, no conclusions could be drawn.

23. On November 15, 2011, Webster Police investigators transferred the second set
of swabs from the Monroe County Public Safety Building to the Office of Chief Medical

EXarniner (OCME) in New York City. OCME had developed the expertise and facilities

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necessary to perform a DNA testing technique that enables testing to be performed on trace
amounts of evidence. This testing technique is referred to as High Sensitivity DNA testing
(also referred to as Low Template testing)- On December 28, 2011, the Office of Chief
Medical EXarniner, New York City issued a report advising that they were able to recover
l-luman DNA from each of the submitted swabs from the umbrella, and that two of the
submitted swabs contained sufficient levels of l-Iuman DNA to conduct High Sensitivity PCR
DNA testing and comparison PCR testing, more formally called polymerase chain reaction
(PCR) is a technique used in molecular biology to amplify a single copy or a few copies of a
piece of DNA across several orders of magnitude, generating large amounts of DNA by
repeated cycles of copying the DNA loci. As to Swab 8.2, which was taken from the
“umbrella closure wrap around”, the Medical EXaminer concluded that DNA from at least
two people was located, but included one major male contributor, referred to as “Male Donor
A.” The DNA profile of Male Donor A was a full profile, based on testing at 15 different loci
positions That DNA profile would be expected to be found in only l in 6.80 trillion people
The second sample, Swab 8.4, which was taken from the “urnbrella latch mechanism (lower)”
of the umbrella was also a significant profile, based on testing at 10 different loci positions

The DNA profile would be expected to be found in only 1 in 138 million people.

RICI-IARD WILBERN INITIATES CONTACT WITH TI-IE FBI

24. A check with the records maintained by the FBl indicate that Richard Leon
Wilbern made live calls to the FBI Public Access Line between July 14, 2015 and April 14,
2016. These complaints were apparently in relation to what he considered to be an unlawful

foreclosure of his property at 766 Hudson Avenue, Rochester, New York. Wilbern claimed
1 1

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to be the victim of a crime. The April 14, 2016 call to the FBl occurred just several weeks

after the FBI press conference held on March 21, 2016.

25 . On June 29, 2016, FBI agents contacted Richard Wilbern via the cell phone
number he provided Wilbern voluntarily agreed to come in to the FBI Ofiice in Rochester
on July 7, 2016, where he discussed the facts and circumstances of the fraud case with
investigators On July 19, 2016, Wilbern again agreed to come back to the FBI office to
further discuss the fraud case. During that second meeting, Wilbern was asked to sign some
paperwork and to seal the paperwork in an envelope, which he did by licking the envelope
Wilbern left the FBI oflices after being advised that law enforcement would be in touch with
him in the future. After observing Wilbern lick and seal the envelope, law enforcement
immediately placed the envelope in a secured evidence bag for possible DNA testing and

comparison

DNA COMPARISON RESULTS IN POSITIVE MATCH 'I`O RICHARD WILBERN

26. Shortly after obtaining the DNA sample from Richard Wilbem, the evidence
was delivered to the Oflice of the Medical Examiner in New York City to be compared against
the “Male Donor A” DNA pronles obtained from the umbrella in 2011. On September 1,
2016, law enforcement received the official report from the Office of the Medical Examiner.
The Office of the Medical Exarniner’s report indicated that they were able to obtain a full
DNA profile from the saliva contained on the envelope. As to Swab 8.2, which was taken
from the “umbrella closure wrap around”, the Medical EXaminer’s Offrce concluded that the

DNA profile obtained from “Male Donor A” positively matched the DNA profile of the
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sample obtained from Richard Wilbern. ln other words, the DNA located on the “umbrella
closure wrap around” is that of Richard Leon Wilbem. As stated above, the DNA profile of
Male Donor A is expected to be found in only l in 6.80 trillion people- As for Swab 8.4,
which was taken from the “umbrella latch mechanism (lower)”, the Medical Examjner’s
Oflice concluded that DNA profile obtained from “Male Donor A” matches the DNA profile
of the sample obtained from Richard Wilbern. As stated above, for Swab 8.4, the DNA profile

of Male Donor A is expected to be found in l in 138 million people.

WILBERN’S AFFILIATION WITH AND SEARCI-I OF 23 TUBMAN WAY

27. On September 27, 2016, at approximately 2:l7 p.m., the Hon. .lonathan W.
Feldman issued a search warrant for the residence at 23 Tubman Way (garage only),
Rochester, New York. According to records obtained by Rochester Gas and Electric, utility
service at the location is in the name of Ferran Scott, Richard Wilbern’s girlfriend Upon
searching the garage, agents discovered a large amount of men’s clothing and other personal
items belonging to Richard Leon Wilbern. Of particular relevance here, agents discovered
the following items:

~ a black, full face ski mask tucked inside a planner notebook;

~ one (1) Feather lndustries lnc. Model AT-9, 9 mm rifle, bearing serial number
A91074, loaded with 25 rounds in the rifle magazine;

~ one (l) Norinco SKS rifle, bearing serial number 24000873, loaded with ll
rounds of 7.62 X 39 caliber ammunition;

- one (l) SAA Model SA15 senn-automatic rifle, bearing serial number JT21474

along with two empty magazine Clips;
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- one (l) Kel Tec model Sub 2000, .40 Smith and Wesson caliber rifle bearing

serial number EHZO6, along with 3 empty magazine clips, all located in a gun case

28. As stated above, Richard Wilbern is a convicted felon and therefore precluded
from possessing any firearms On October 4, 2016, Ferran Scott was interviewed at the
United States Attomey’s office by your affiant Scott stated that she has lived at the Tubrnan
Street residence with her mother, Linda Mosely, and her two children Both children are
under the age of 7. She indicated that she and Richard Wilbern have been romantically
involved for approximately 3 years. She indicated that she and Wilbern have one male child
together. Scott stated that Wilbern travels a fair amount, but she believes that when he is
present in Rochester, Wilbern stays with her at 23 Tubman Way. Scott stated that sometime
in August 2016, Wilbern moved a number of personal items into her garage that Wilbern
retrieved from a building he owned at 766 Hudson Avenue, Rochester, New York. She
indicated that she permitted Wilbern to store those items in her garage Scott further indicated
she was not specifically aware of each of the items Wilbern brought and stored in her garage
She stated she was surprised to learn that there were firearms located in her garage, that they
did not belong to her and that she would never have permitted loaded firearms to be kept in
the house where her young children were present That same day, your affiant also spoke
with Scott’s mother, Linda Mosely. Ms. Mosely stated that she was aware that Wilbern had
some personal items stored in the garage, but indicated she had no idea that any guns were in
the garage Although Ms. Mosely indicated that she lawfully possesses two handguns (which
are on her NYS pistol permit), she stated that none of the rifles inside the garage belonged to
her. Lastly, both women indicated that no person other than Wilbern had any possessions

stored in their garage
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GUN 'I'RACES

29. On September 28, 2016, OST Kirnberly K. Williams conducted a search
through eJusnceNY‘s Stolen Gun database and submitted Hrearm trace requests through the
ATF National Tracing Center for the four weapons that were seized pursuant to the execution
of a search warrant at 23 Tubman Way, Rochester, New York.

a. Feather Industries lnc. M`odel AT-Q, 9 mm rifle, bearing serial
number A91074. elusticeNY's Stolen gun was negative ATF‘s firearms trace
was completed on 9/ 30 / 2016. The firearm was purchased at Ray and Frank’s
I-Iunting Supplies on Stone Road in Greece, New York in 1990. The owner of
the firearm indicated that the gun was stolen approximately 11 years ago. The
theft was never reported to the police

b. Norinco SKS rifle, bearing serial number 24000873.
eJusticeNY's Stolen gun was negative This firearm was unable to be traced

c. SAA Model SA15 semi~automatic rifle, bearing serial number
JT21474. elusticeNY's Stolen gun was negative ATF's firearms trace was
completed on 9/30/2016. The firearm was purchased from Katy Gun Gear in
Katy, Texas in March 2016. The gun was sold privately at a gun show in Texas
in 2016. No report or record of purchaser.

d. Kel Tec model Sub 2000, .40 Smith and Wesson caliber rifle
bearing serial number EI-IZO6. elustiCeNY's Stolen gun was negative ATF's
Hrearms trace was completed on 10/7/2016. The firearm was purchased in
2013 from American Fireanns in Katy, Texas. The gun was sold privately at a

gun show in Texas in 2016. No report or record of purchaser.
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ARREST OF RICHARD W]LBERN AND SEIZURE OF AN APPLE iPHONE

30. On September 27, 2016, Richard L. Wilbern was arrested pursuant to a
criminal complaint charging him with violations of Title 18, United States Code, Sections
2113(a), 2113(€) and 2 (credit union robbery, resulting in death), and that he committed a
violation of Title 18, United States Code, Sections 924(€)(1)(A)(iii) and (i)(l) (possession and
discharge of a firearm in furtherance of a crime of violence, resulting in death). Subsequently,
he was charged in a separate complaint with unlawful possession of firearms by a prohibited
person (convicted felon) pursuant to Title 18, United States Code, Section 922(g). On or
about February 15, 2017, Wilbern was detained after a bail hearing held pursuant to Title 18,

United States Code, Section 3142(f).

3l. Incident to the defendant’s arrest, law enforcement seized an Apple iPhone
from the person of Richard Wilbem, more particularly described as one (1) Apple Iphone 6S
Plus, Model A1687, FCC ID BCG-E2944A. ln or about .lune 2017, your affiant applied
to this Court under Rule 41 of the Federal Rules of Crirninal Procedure for a search warrant
authorizing the examination of the seized iPhone. Your affiant was advised at that time that
certain capabilities had been developed and were being offered through the F.B.l. to open the
otherwise password-protected Apple device Several extensions of the search warrant have
been granted, the latest of which was signed by the Hon. Jonathan W. Feldman on or about
Novernber 16, 2017, extending the time in which to complete the search until December 19,
2017. However, notwithstanding best efforts, at the time of this submission, agents with the

FBl have not been able to access the contents of the cellular phone

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32. As l articulated in my original application to search the Apple lphone 6S Plus,
Model Al687, FCC lD BCG-E2944A, l am aware, based upon my training and experience,

that:

(a) lndividuals involved in criminal activity commonly maintain names,
telephone numbers, recorded messages, photographs, letters, cables,
telegrams, personal notes and other items of information concerning
themselves and individuals associated in their criminal activities, in
electronic storage mediums, including but not limited to cellular
telephones and computer devices;

(b) individuals involved in criminal activity commonly take, or cause to be
taken, photographs/ videos of themselves, their associates and their
property These photographs/ videos are usually maintained in their
residences and/ or stored in electronic storage mediums, including but
not limited to cellular camera telephones and computer devices.

(c) lndividuals maintain written documents, letters, diaries, notes, email
communications, text communications, and other records in their
personal computers

(d) lndividuals access the internet and may download Hles or other media
content onto their personal computers.

33. During the course of my career, l have had the opportunity to assist with the
execution of several federal search warrants on cellular telephones and computer hard drives
seized from members of criminal organizations which have resulted in the recovery of
significant evidence tending to show involvement in criminal activity. Based on the evidence
in this investigation, your Affiant has probable cause to believe that relevant and material
messages, call logs, notes, emails, photographs, contacts and other information may be stored
in the iCloud connected to Wilbern’s Apple ]D. Despite efforts to unlock the iPhone
pursuant to the aforementioned search warrant, it is believed that data which is maintained

on the iPhone (along with other evidence relevant to the investigation) may have been
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uploaded, synced and stored in the iCloud account associated with Wilbern’s Apple ID.
Specifically, l believe that there is reasonable cause to believe that evidence of the Xerox
crime, including the identity of potential co-conspirators, may be maintained in electronic
format Moreover, with respect to the charge of Title 18, United States Code, Section 922(g),
the government will be required to prove at trial that the defendant “possessed” the firearms
listed above, notwithstanding the fact they were not in his actual possession at the time they

were seized

INFORMATION REGARDING APPLE ID AND iCLOU`D1

34. Apple is a United States company that produces the iPhone, iPad, and iPod
Touch, all of which use the iOS operating system, and desktop and laptop computers based

on the Mac OS operating system.

35. Apple provides a variety of services that can be accessed from Apple devices,
including the iPhone, iPad, and iPod Touch, or in some cases, other devices via web browsers
or mobile and desktop applications (“apps”). As described in further detail below, the services

include email, instant messaging, and file storage

 

i The information in this section is based on information published by Apple on its
website, including, but not limited to, the following document and webpages: “U.S. Law
Enforcement Legal Process Guidelines,” available at; “Create and start using an Apple lD,”
available at httns :/ /supuort.annle.com/en~us/HT203993; “iCloud, ” available at

httn:/ /www.ant)le.com/icloud/; “iCloud: iCloud storage and backup overview,” available

at h;tps:/ / support.applecom/kb/PH125 19; and “iOS Security, ” available at
httt): / /irnages.at)t)le.com/privacv/ docs /iOS Securitv Guide.pdf.

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a. Apple provides email service to its users through email addresses at the
domain names mac.com, me.com, and icloud.com.

b_ iMessage and FaceTime allow users of Apple devices to communicate
in real-time. iMessage enables users of Apple devices to exchange instant messages
(“Messages”) containing text, photos, videos, locations, and contacts, while FaceTime
enables those users to conduct video calls

c. iCloud is a file hosting, storage, and sharing service provided by Apple.
iCloud can be utilized through numerous iCloud-connected services, and can also be used to
store iOS device backups and data associated with third-party apps.

d. iCloud-connected services allow users to create, store, access, share,
backup and synchronize data on Apple devices, including the iPhone, iPad, and iPod Touch
or via icloud.com on any Intemet-connected device For example iCloud Mail enables a user
to access Apple~provided email accounts on multiple Apple devices and on icloud.com.
iCloud Photo Library and My Photo Stream can be used to store and manage images and
videos taken from Apple devices, and iCloud Photo Sharing allows the user to share those
images and videos with other Apple subscribers iCloud Drive can be used to store
presentations spreadsheets, and other documents iCloud Tabs enables iCloud to be used to
synchronize webpages opened in the Safari web browsers on all of the user’s Apple devices
iWorks Apps, a suite of productivity apps (Pages, Nurnbers, and Keynote), enables iCloud to
be used to create, store, and share documents, spreadsheets, and presentations iCloud
Keychain enables a user to keep website username and passwords, credit card information,

and Wi-Fi network information synchronized across multiple Apple devices

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e. Game Center, Apple’s social gaming network, allows users of Apple
devices to play and share games with each other.

f. Find My iPhone allows owners of Apple devices to remotely identify
and track the location of, display a message on, and wipe the contents of those devices

g. Location Services allows apps and websites to use information from
cellular, Wi-Fi, Global Positioning System (“GPS”) networks and Bluetooth, to determine a
user’s approximate location.

h. App Store and iTunes Store are used to purchase and download digital
content iOS apps can be purchased and downloaded through App Store on iOS devices or
through iTunes Store on desktop and laptop computers running either Microsoft Windows or
l\/Iac OS. Additional digital content, including music, movies, and television shows, can be
purchased through iTunes Store on iOS devices and on desktop and laptop computers running

either Microsoft Windows or Mac OS.

36. Apple services are accessed through the use of an “Apple lD,” an account
created during the setup of an Apple device or through the iTunes or iCloud services A single
Apple [D can be linked to multiple Apple services and devices serving as a central

authentication and syncing mechanism

37. An Apple ID takes the form of the full email address submitted by the user to
create the account; it can later be changed Users can submit an Apple-provided email address
(often ending in @icloud.com, @me.com, or @mac.com) or an email address associated with
a third-party email provider (such as Gmail, Yahoo, or Hotmail). The Apple lD can be used

to access most Apple services (including iCloud, il\/lessage, and Face’l`ime) only after the user
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accesses and responds to a “verification email” sent by Apple to that “prirnary” email address

11 it

Additional email addresses (“alternate, rescue,” and “notification” email addresses) can

also be associated with an Apple lD by the user.

38. Apple captures information associated with the creation and use of an Apple
ID. During the creation of an Apple lD, the user must provide basic personal information
including the user’s full name, physical address and telephone numbers The user may also
provide means of payment for products offered by Apple. The subscriber information and
password associated with an Apple ]D can be changed by the user through the “l\/ly Apple
l]l)” and “iForgot” pages on Apple’s website ln addition, Apple captures the date on which
the account was created, the length of service, records of log~in times and durations, the types
of service utilized, the status of the account (including whether the account is inactive or
closed), the methods used to connect to and utilize the account, the lntemet Protocol address
(“IP address”) used to register and access the account and other log files that reflect usage of

the account

39. Additional information is captured by Apple in connection with the use of an
Apple lD to access certain services For example, Apple maintains connection logs with [P
addresses that reflect a user’s sign~on activity for Apple services such as iTunes Store and App
Store, iCloud, Game Center, and the My Apple ID and iForgot pages on Apple’s website.
Apple also maintains records reflecting a user’s app purchases from App Store and iTunes
Store, “call invitation logs” for FaceTirne calls, and “mail logs” for activity over an Apple-
provided email account Records relating to the use of the Find My iPhone service, including

connection logs and requests to remotely lock or erase a device, are also maintained by Apple.
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40. Apple also maintains information about the devices associated with an Apple
lD. When a user activates or upgrades an iOS device, Apple captures and retains the user’s
IP address and identifiers such as the lntegrated Circuit Card lD number (“ICCID”), which
is the serial number of the device’s SIM card Similarly, the telephone number of a user’s
iPhone is linked to an Apple ]D when the user signs in to FaceTime or il\/.[essage. Apple also
may maintain records of other device identifiers, including the Media Access Control address
(“MAC address”), the unique device identifier (“UDID”), and the serial number. ln addition,
information about a user’s computer is captured when iTunes is used on that computer to
play content associated with an Apple ID, and information about a user’s web browser may
be captured when used to access services through icloud.com and applecom. Apple also
retains records related to communications between users and Apple customer service,
including communications regarding a particular Apple device or service, and the repair

history for a device

41. Most importantly, as it relates to the facts of this case, Apple provides users
with five gigabytes of free electronic space on iCloud, and users can purchase additional
storage space That storage space, located on servers Controlled by Apple, may contain data
associated with the use of iCloud-connected services including: email (iCloud Mail); images
and videos (iCloud Photo Library, My Photo Stream, and iCloud Photo Sharing); documents
spreadsheets, presentations and other files (iWorks and iCloud Drive); and web browser
settings and Wi-Fi network information (iCloud Tabs and iCloud Keychain). iCloud can also
be used to store iOS device backups, which can contain a user’s photos and videos, il\dessages,

Short l\/_[essage Service (“SMS”) and Multimedia Messaging Service (“MMS”) messages
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voicemail messages call history, contacts calendar events reminders notes app data and
settings and other data. Records and data associated with third-party apps may also be stored
on iCloud; for example, the iOS app for WhatsApp, an instant messaging service can be
configured to regularly back up a user’s instant messages on iCloud Some of this data is

stored on Apple’s servers in an encrypted form but can nonetheless be decrypted by Apple.

42. ln my training and experience evidence of who was using an Apple lD and
from where, and evidence related to criminal activity of the kind described above, may be
found in the files and records described above For example, the stored communications and
files connected to an Apple lD may provide direct evidence of the offenses under
investigation Based on my training and experience instant messages emails, voicemails,
photos videos and documents are often created and used in furtherance of criminal activity,
including to communicate and facilitate the offenses under investigation ln this case,_ l
believe that there is reasonable cause to believe that evidence of the Xerox crime, including
the identity of potential co-conspirators, may be maintained in electronic format Moreover,
with respect to the charge of Title 18, United States Code, Section 922(g), the government
will be required to prove at trial that the defendant “possessed” the firearms listed above,
notwithstanding the fact they were not in his actual possession at the time they were seized
The government believes that information maintained by Apple, and more particularly stored
on the iCloud services may provide additional details including call logs notes or
photographs providing information as to how and when the firearms were acquired by the

defendant

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43. Account activity may also provide relevant insight into the account owner’s
state of mind as it relates to the offenses under investigation For example, information on
the account may indicate the owner’s motive and intent to commit a crime (e.g., information
indicating a plan to commit a crirne), or consciousness of guilt (e.g., deleting account

information in an effort to conceal evidence from law enforcement).

INFORMATION TO BE SEARCI-]ED AND TI-IINGS TO BE SEIZED

44- l anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(1)(A), by using the
warrant to require Apple to disclose to the government copies of the records and other
information (including the content of communications and stored data) particularly described
in Section l of Attachment B. Upon receipt of the information described in Section l of
Attachment B, govemment-authorized persons will review that information to locate the

items described in Section ll of Attachment`B.

CONCLUSION

45. Based on the forgoing, l request that the Court issue the proposed search

WB.I`I’¢':lI'lt.

46. This Court has jurisdiction to issue the requested warrant because it is “a court

er competent jurisdieuen” es defined by is U.s.c. § 2711. is U.s.c. §§ 2703(@1), (b)(i)(A)

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and (c)(l)(A). Specifically, the Court is “a district court of the United States . . . that - has

jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

47. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is

not required for the service or execution of this warrant

//€J/)M

Andrewfsie N

  

Sworn to and subs ibed to before me
gi day of ov mber 2017.

` JoNA'r’HAN w. FELDMAN
_'ed States Magistrate Judge

 
 
  
 
 

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ATTACI~[MENT A

Property to Be Searched

This warrant applies to information associated with APPLE ID
richWiIbern@grnail.com (the “account”) that is stored at premises owned, maintained,
controlled, or operated by Apple lnc., a company headquartered at Apple Inc., 1 lnfinite

Loop, Cupertino, CA 95014.

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AT'I`ACHN[ENT B
Particular Things to be Seized

I. Information to be Disclosed by Apple

To the extent that the information described Attachment A is within the possession,
custody, or control of Apple including any messages records files logs or information that
have been deleted but are still available to Apple, or have been preserved pursuant to a request
made under 18 U.S.C. § 2703(f), Apple is required to disclose the following information to
the govemment, in unencrypted form whenever available for each account or identifier listed

in Attachment A:

a. All records or other information regarding the identification of the account to
include full name physical address telephone numbers email addresses (including primary,
alternate rescue and notification email addresses and verification information for each email
address), the date on which the account was created the length of service the lP address used
to register the account, account status methods of connecting, and means and source of

payment (including any credit or bank account numbers);

b. All records or other information regarding the devices associated with, or used
in connection with, the account (including all current and past trustedor authorized iOS
devices and computers and any devices used to access Apple services), including serial
numbers Unique Device identifiers (“UD]ID”), Advertising ldentifiers (“]DFA”), Global

Unique Identifiers (“GUID”), Media Access Control (“MAC”) addresses lntegrated Circuit

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Card lD numbers (“lCCID”), Electronic Serial Numbers (“ESN”), Mobile Electronic
Identity Numbers (“M]EIN”), Mobile Equipment Identiliers (“MEID”), Mobile Identificaiion
Numbers (“MIN”), Subscriber ldentity Modules (“Sl'l\/f”), Mobile Subscriber Integrated
Services Digital Network Numbers (“MSISDN”), International Mobile Subscriber ldentities

(“IMSI”), and International Mobile Station Equipment Ident_ities (“IMEI”);

c. The contents of all emails associated with the account, including stored or
preserved copies of emails sent to and from the account (including all draft emails and deleted
emails), the source and destination addresses associated with each email, the date and time
at Which each email was sent, the size and length of each email, and the true and accurate
header information including the actual lP addresses of the sender and the recipient of the

emails and all attachments

d. The contents of all instant messages associated with the account, including
stored or preserved copies of instant messages (including il\/Iessages1 Sl\/.[S messages and
MMS messages) sent to and from the account (including all draft and deleted messages), the
source and destination account or phone number associated with each instant message the
date and time at which each instant message was sent, the size and length of each instant
message the actual [P addresses of the sender and the recipient of each instant message and

the media, if any, attached to each instant message

e. The contents of all liles and other records stored on iCloud, including all iOS
device backups, all Apple and third~party app data, ali iiles and other records related to iCloud
Mail, iCloud Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud Drive iWorks
(including Pages, Numbers and Keynote), iCloud Tabs and iCloud Keychain, and all
address books contact and buddy lists notes reminders calendar entries images videos

voicernails device settings and bookmarl<s;

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f. All activity, connection, and transactional logs for the account (with associated
lP addresses including source port numbers), including FaceTirne call invitation logs mail
logs iCloud logs iTunes Store and App Store logs (including purchases downloads and
updates of Apple and third~party apps), messaging and query logs (including il\/lessage SMS,
and MMS messages), My Apple ID and iForgot logs sign-on logs for all Apple services
Game Center logs Find my iPhone logs logs associated with iOS device activation and
upgrades and logs associated with web-based access of Apple services (including all

associated identifiers);

g. All records and information regarding locations where the account was

accessed, including all data stored in connection with Location Services;
h. All records pertaining to the types of service used;

i. All records pertaining to communications between Apple and any person

regarding the account, including contacts with support services and records of actions taken;

j. All files keys or other information necessary to decrypt any data produced in
an encrypted form, when available to Apple (including, but not limited to, the keybag.txt and

fileinfolist.txt liles).

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II. Information to be Seized by the Government

A]l information described above in Section l that constitutes contains records fruits
instrumentalities and evidence of a crime or tending to demonstrate personal involvement
or knowledge of the crime of Title 18, United States Code Sections 2113(a), 2113(e) and 2
(credit union robbery, resulting in death), and a violation of Title 18, United States Code
Sections 924(€)(1)(A)(iii) and (j)(l) (possession and discharge of a firearm in furtherance of a
crime of violence resulting in death), and/ or the unlawful purchase or acquisition of firearms
by a prohibited person, in violation of Title 18, United States Code Section 922(g), for each

account or identifier listed on Attachment A.

a. The identity of the person(s) who created or used the Apple ID.

b. Evidence indicating how and when the account was established, accessed or
used, to determine the chronological and geographic context of account access use and events

relating to the crime under investigation and the account subscriber;

,c. Any records pertaining to the means and source of payment for services
(including any credit card or bank account number or digital money transfer account
information);

d. Evidence indicating the subscriber’s state of mind as it relates to the crimes

under investigation;

e. Evidence that may identify any coconspirators or aiders and abettors or others

with personal knowledge of the crimes under investigation

f. Evidence related to the identification of all persons involved in the acquisition
or transfer of certain firearms found in the possession of Richard Wilbern in or about

September 2016.

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CERTIFICATE OF AUTHENTICITY OF DOl\/[ESTIC
BUSINESS RECORDS PURSUAN’I` 'I`O FEDERAL RULE
OF EVIDENCE 902(11)

l, , attest, under penalties of perjury under the
laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information
contained in this declaration is true and correct. l arn employed by Apple lnc., and my oflicial
title is . l arn a custodian of records for Apple lnc. I state
that each of the records attached hereto is the original record or a true duplicate of the original
record in the custody of Apple lnc., and that l am the custodian of the attached records
consisting of (pages/CDs/kilobytes). l further state that:

a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth, by, or from information transmitted by, a person with
knowledge of those matters

b. such records were kept in the ordinary course of a regularly conducted business
activity of Apple lnc.; and

c. such records were made by Apple lnc. as a regular practice

l further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.

 

Date Signature

